                     Case: 23-90013 Document: 8 Page: 1 Date Filed: 05/05/2023
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              Fifth Cir. Case NO.          23-90013

NexPoint Advisors, L.P.                                                     vs.   Highland Capital Management, L.P.
(Short Title)
The Clerk will enter my appearance as Counsel for                   Highland Capital Management, L.P.



______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)        ✔ Respondent(s)  Amicus Curiae

                                         Appellant(s)                  Appellee(s)                              Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.

                                                                                  zannable@haywardfirm.com
(Signature)                                                                       (e-mail address)

 Zachery Z. Annable                                                               Texas 24053075
(Type or print name)                                                              (State/Bar No.)


(Title, if any)

 __________________________________________________________________________________________
 Hayward PLLC
(Firm or Organization)
Address                  10501 N. Central Expressway, Suite 106

City & State      Dallas, Texas                                                                        Zip   75231

Primary Tel._ 972-755-7108                     Cell Phone:      972-251-0891
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: ________________________________________________________________________________
                          Jeffrey N. Pomerantz
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
None
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No

           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No

           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No
                                                                  ✔
         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:
   Please see attached


Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED January 2022
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                        Attachment to Notice of Appearance

No. 23-90013

Short Title: NexPoint Advisors, L.P. v. Highland Capital Management, L.P.

B. Inquiry of Counsel

(1) Related cases now pending in this Court:

   • NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. et al.,
     No. 22-10575: fully briefed on December 9, 2022; oral argument held on
     May 1, 2023

   • Dondero v. Highland Capital Management, L.P., No. 22-10889: fully
     briefed on March 24, 2023

   • The Dugaboy Investment Trust v. Highland Capital Management, L.P., No.
     22-10960: fully briefed on February 15, 2023; oral argument held on May 1,
     2023

   • The Dugaboy Investment Trust v. Highland Capital Management, L.P., No.
     22-10983: fully briefed on March 6, 2023; oral argument scheduled for June
     5, 2023

   •   The Charitable DAF Fund, L.P., et al. v. Highland Capital Management,
       L.P., No. 22-11036: briefing order issued on November 15, 2022—briefing
       ongoing

(2) Related cases now pending in a district court, which would likely be appealed
to the Fifth Circuit:

   • Highland Capital Management, L.P., et al. v. Highland Capital
     Management Fund Advisors L.P., Northern District of Texas, No. 3:21-cv-
     881 (consolidated cases: 3:21-cv-880, 3:21-cv-1010, 3:21-cv-1378, 3:21-cv-
     1379): briefing ongoing

   • The Charitable DAF Fund, L.P., et al. v. Highland Capital Management,
     L.P., Northern District of Texas, No. 3:21-cv-1585: case abated and
     administratively closed pending resolution of The Charitable DAF Fund,
     L.P., et al. v. Highland Capital Management, L.P., No. 22-11036
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   • NexPoint Advisors, L.P., et al. v. Highland Capital Management, L.P.,
     Northern District of Texas, No. 3:22-cv-2170: fully briefed on April 3, 2023

   • Highland Capital Management Fund Advisors, L.P., et al. v. Highland
     Capital Management, L.P., Northern District of Texas, No. 3:23-cv-00573:
     district court appellate case of matter that is the subject of Petition for
     Permission to Appeal (Direct Appeal from Bankruptcy Court, 28 U.S.C. §
     158(d)) filed in case no. 23-90013 pending before the United States Court of
     Appeals for the Fifth Circuit

(3) Related cases in which judgment or order has been entered and are now on their
way to the Fifth Circuit by appeal:

      [None]
